The Official Web Site for Virginia’s Judicial System

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 Virginia's Court System
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       Court of Appeals of Virginia
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         Circuit Court Fiduciary Forms 
        
           Manual for Commissioners of Accounts 
		     Alphabetical Listing of Commissioners of Accounts 
             Uniform Fee Schedule Guidelines         


               Guardians and Conservators of Incapacitated Adults 
               Jury Service 
               Probate and Estate Administration 
               Records Management and Retention, Library of Virginia 
               Rules of the Supreme Court of Virginia 
               Unclaimed Property Division, Virginia Department of the Treasury  
            
        
       General District Court
         Individual General District Court Homepages 
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          Manuals
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			   District Court Forms Manual 
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               General District Court Manual
            
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 
               Code of Virginia 
               Commonwealth of Virginia Agency Websites 
               General District Courts Informational Pamphlet 
               Licensed Property and Surety Bail Bondsmen 
               Rules of the Supreme Court of Virginia 
               Small Claims Court Procedures 
            
        
       Juvenile and Domestic Relations District Court
         Individual Juvenile and Domestic Relations District Court Homepages 
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            Court-Appointed Counsel Procedures &amp; Guidelines Manual
              Court-Appointed Counsel Eligibility
			  District Court Forms Manual 
               District Court Judges Benchbook 
               Juvenile and Domestic Relations District Court Manual 
            
           Programs
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           Resources and Reference Materials
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               American Bar Association (ABA) Center on Children and the Law 
               Code of Virginia 
               Commonwealth of Virginia Agency Websites 
               Juvenile and Domestic Relations District Courts Informational Pamphlet 
               National Council of Juvenile and Family Court Judges 
               Rules of the Supreme Court of Virginia 
            
        
       Magistrate System
         About 
           Complaint Procedure
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           Magistrate System Organizational Chart  
           Map Showing Virginias Magisterial Regions 
           Resources and Reference Materials
             Americans with Disabilities Act (ADA) 

               Chapter 3 of Title 19.2 of the Code of Virginia 
               Magistrate Manual 
            
        
	   Special Justices
	         Forms 
			     Resources and Reference Materials 
		              Americans with Disabilities Act (ADA) 
				      Training Standards and Appointment Guidelines 
				 
					 
					  Employment Opportunities
       General Contact Information for All Courts
         Supreme Court of Virginia  
           Court of Appeals of Virginia  
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       Office of the Executive Secretary (OES)
         Assistant Executive Secretary and Counsel
            
          
           Court Improvement Program
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             Chart of Allowances 
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			   Procurement 
            
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             Comprehensive Planning Activities 
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             Legislative Websites 
            
        
         
	   Americans with Disabilities Act (ADA) 
     Online Services
     Pay Traffic Tickets and Other Offenses
         Payments Online (General District Courts Only) 
           Payments by Mail 
        
       Assistance with Protective Orders (I-CAN!)
         I-CAN!TM Virginias Online Forms Completion System for Protective Orders 
           I-CAN! Resources
             Frequently Asked Questions 
               Manual for Local Workgroups 
            
           Court-Specific Information for Filing Protective Order Petitions 
           Juvenile and Domestic Relations District Court 
        
       Case Status and Information
         Supreme Court of Virginia 
           Court of Appeals of Virginia 
           Circuit Court 
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       Circuit Court Records Information 
       Employment Opportunities 
       Fees
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       Opinions Search 
       Searchable Directories
         Certified Court-Appointed Attorneys 
           Guardians Ad Litem
             For Children Listed by District 
               For Incapacitated Adults Listed by District 
            
           Justices, Judges, Clerks and Chief Magistrates 
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               Find A Circuit Court Mediator 
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               Searchable Mediator Directory (by qualifications) 
            
           Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court             
        
    
 Case Status and Information
     Supreme Court of Virginia 
       Court of Appeals of Virginia 
       Circuit Court
         Case Information 
           Fees
             Civil Filing Fee Calculation 
               Deed Calculation 
            
           Records Information 
        
       General District Court
         Case Information
             Pay Traffic Tickets and Other Offenses 
            
           Civil Filing Fee Calculation 
        
       Juvenile and Domestic Relations District Court 
    
 Court Administration
     Office of the Executive Secretary (OES)

         Assistant Executive Secretary and Counsel
           
          
           Court Improvement Program
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           Educational Services 
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             Chart of Allowances 
               Forms 
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			   Procurement 
            
          
           Human Resources
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			    Employment 
            
           Judicial Information Technology 
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             Comprehensive Planning Activities 
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           Legal Research 
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             Legislative Websites 
            
        
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       State Law Library
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           SCV Historical Advisory Committee
        
     Directories
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       Certified Court-Appointed Attorneys 
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       General Contact Information for All Courts
         Supreme Court of Virginia 
           Court of Appeals of Virginia 
           Circuit Courts 
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       Guardians Ad Litem
         For Children
             Listing in Alphabetical Order  
               Listing of Qualified Guardians Ad Litem for Children by District (Map) 
            
           For Incapacitated Adults
             Listing in Alphabetical Order 
               Listing of Qualified Guardians Ad Litem for Adults by District (Map) 
            
        
       Interpreters
         Blind and Vision Impaired  
           Deaf and Hard of Hearing 
        
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           Find a Circuit Court Mediator 
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          Coordinator Contractors (by locality)  
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           Searchable Mediator Directory 
           Virginia Association of Community Conflict Resolution 
        
        Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court              
        
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     Supreme Court of Virginia 
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         Forms Available for Completion Online
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               Certificate of Assumed or Fictitious Name 
            
           Circuit Court Forms List 
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       General District Court
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               General 
            
           Form-Related Information 
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           District Court Forms Manual 
        
       Juvenile and Domestic Relations District Court 
         Forms and Instructions 
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           Uniform Interstate Family Support Act (UIFSA) Forms 
           District Court Forms List 
           District Court Forms Manual 
        
       Judicial Inquiry and Review Commission Complaint Form 
       Judicial Settlement Conference 
       Mediation
         Circuit Court Mediation 
        
       Parent Education Self Evaluation 
    

  Judicial Branch Agencies
  
    Judicial Inquiry and Review Commission
     About 
       Canons of Judicial Conduct 
       Complaint Form 
       Rules
       Judicial Ethics Advisory Committee
         Order Creating (JEAC) 
           Opinions Issued by the Judicial Ethics Advisory Committee 
        
     
    
     Virginia Board of Bar Examiners 
     Virginia Criminal Sentencing Commission 
     Virginia State Bar 
  
 Programs
     Assistance with Protective Orders (I-CAN!)
         I-CAN!TM Virginias Online Forms Completion System for Protective Orders 
           I-CAN! Resources
             Frequently Asked Questions 
               Manual for Local Workgroups 
            
           Court-Specific Information for Filing Protective Order Petitions 
           Juvenile and Domestic Relations District Court 
        
	  
	   Concluded Programs and Studies 
         Commission on Mental Health Law Reform 
            
               Judicial Boundary Realignment Study 
 
               Judicial Performance Evaluation (JPE) 
 
               Pandemic Flu Preparedness Commission 
 
        
       Drug Treatment Courts
         About 
           Directory of Drug Treatment Courts By Model and Locality 
           Drug Treatment Court Act - Virginia Code § 18.2-254.1 
           Drug Treatment Court Models 
           Drug Treatment Court Standards 
           Evaluation Reports
           Informational Video 
           Resources and Reference Materials
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               Publications 
            
           Statewide Advisory Committee
             Advisory Committee Structure 
               Members 
               Meeting Schedule and Minutes 
            
           Training Calendar 
        
       Foreign Language Services
         Certification
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               Frequently Asked Questions About Certification 
               Program Information and Registration 
               Study Materials 
            
           Frequently Asked Questions About Interpreters 
           Standards and Guidelines
             Code of Professional Responsibility for Interpreters 
               Guidelines for Serving Non-English Speakers in the Virginia Court System 
            
           Other Interpreter Services
             Blind and Vision Impaired 
               Deaf and Hard of Hearing 
            
        
       Guardians Ad Litem (GAL)
         Programs
             Guardians Ad Litem for Children 
               Guardians Ad Litem for Incapacitated Persons (Adults) 
            
           Complaints Regarding Guardians Ad Litem 
        
       Hearing Officers
         Deskbook 
           System Rules of Administration 
        
       Journey Through Justice 
     
       Judicial Settlement Conference
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           Frequently Asked Questions 
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           Procedures
             Checklist for Court Personnel 
               Checklist for Lawyers 
             Statistics
         
        
       Mediation
         Certification and Training
             Certification Requirements 
               Helpful Things to Consider Before Taking Mediation Training 
               Calendars of Training Courses and Conferences 
               Child Support Training Presentation 
            
           Circuit Court Mediation
             Find a Circuit Court Mediator 
               Forms 
               Resources and Reference Materials 
            
           Complaint Process
             Complaint Procedures for Mediators Certified to Receive Court-Referred Cases  
               Mediation Complaint Form [Form ADR - 1004] 
               Standards of Ethics and Professional Responsibility for Certified Mediators 
            
           Directories 
           Frequently Asked Questions About Mediation 
           Forms and Applications 
           Mediation Information System
             Instructions for Mediation Information System 
            
           Resources and Reference Materials
             Alternative Dispute Resolution Overview and Statistics (PowerPoint) 
               General Information 
               Child Dependency Mediation 
            
           Standards and Guidelines
             Guidelines 
               Standards of Ethics and Professional Responsibility for Certified Mediators 
               Statutory References Governing Mediation Procedures 
            
        
      
           Parent Education
         Find a Parent Education Seminar 
		   Circuit Court 
               Juvenile &amp; Domestic Relations Court              
        
           Information for Providers 
           Resources and Reference Materials 
			
            
       Virginia Access to Justice Commission 
          Commission Meeting Schedule 
         
         Judicial Branch Expenditures 



    
    
  
  
    
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            Welcome to the Web site of
              Virginia’s Judicial System
              Our aim is to assure that disputes are resolved justly, promptly, and
              economically through a court system unified in its structures and administration.
              This system is comprised of the Supreme Court of Virginia, the Court
              of Appeals of Virginia, circuit courts in thirty-one judicial circuits,
              general district and juvenile and domestic relations district courts
              in thirty-two districts, and magistrates in offices in thirty-two districts.
              The administrative office of the courts, known in Virginia as the Office
              of the Executive Secretary, supports the administration of the court
            system under the direction of the Chief Justice and the Executive Secretary.  
        
        Virginia Judicial Workload Assessment Report
          Chapter 601, Virginia Acts of Assembly (2012), directed the Supreme Court of Virginia to "develop and implement a weighted 	caseload system to precisely measure and compare judicial caseloads throughout the Commonwealth on the circuit court, general 	district court, and juvenile and domestic relations district court levels" and to develop "a recommended plan for the realignment of the circuit and district boundaries."  In response to the legislation, the Supreme Court of Virginia's Office of the Executive Secretary contracted with the National Center for State Courts to develop a weighted caseload system for Virginia's trial courts and to recommend a plan for the realignment of the circuit and district boundaries.  The Virginia Judicial Workload Assessment Report was submitted to the Court by the National Center for State Courts as a result of the workload assessment study they completed, and it details the weighted caseload system they developed and includes their recommendations regarding boundary realignment in Virginia.         
        
        Press
        Releases
Supreme Court of Virginia Selects Lori Lord as Chief Staff Attorney 
          Supreme
            Court of Virginia Posts Audio Recordings of Oral Arguments Made
            Before the Full Court  
            Audio recordings of oral arguments made
                before the full Court during session since 1/7/14 are posted
                on the Audio
                  Recordings of Oral Arguments page.
                
              
            
          

          The
            Supreme Court of Virginia to Review Proposed Rule 1A:8 Note: Corrected
          on November 26, 2013
2013
          State of the Judiciary Address
          Presented on May 14, 2013, to the Judicial Conference of Virginia, by the Honorable Cynthia D. Kinser, Chief Justice.         
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Office of the Executive Secretary
Supreme Court of Virginia
100 North Ninth Street
Richmond, Virginia 23219 
Copyright 2009 Office of the Executive Secretary, Supreme Court of Virginia.  All rights reserved.WAI Level A Compliant
To report technical problems with our Web site, please contact the webmaster.  The webmaster will not respond to inquiries seeking legal advice or about specific cases.  Questions about specific cases should be directed to the court in which the case has been or will be filed.




